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UNITED STATES DISTRICT CQUREG -8 PHI2: 18
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION 2

JOSE VAZQUEZ
Plaintiff,
Vv.
STRADA SERVICES INC.
formerly known as DEL-AIR
ELECTRICAL SERVICES, INC.,

Defendant.

 

 

Case No. (,: \S~ cy ~(293$- ORL=-4(-TAS

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff JOSE VAZQUEZ, by and through the undersigned counsel,

hereby files this Complaint against the above-named Defendant, STRADA

SERVICES INC., formerly known as DEL-AIR ELECTRICAL SERVICES, INC.

NATURE OF THE CASE

This is an action brought by Plaintiff JOSE VAZQUEZ, (hereafter
“Plaintiff’) against his former employer, Defendant STRADA
SERVICES INC., formerly known as “DEL AIR ELECTRICAL
SERVICES, INC.” (hereafter referred to as “Defendant”) for violations
of the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, ef seq.
(‘FLSA’).

During the term of Plaintiffs employment, Defendant had a practice of

not compensating Plaintiff for hours worked in excess of forty in a
workweek at 1.5 times Plaintiff's regular rate of pay, and in most or
nearly all instances, knowingly recording Plaintiff's hours worked as
eight (8) in a workday, despite being aware that Plaintiff regularly
worked a substantial number of hours in excess of eight in a day and in
excess of forty in a workweek.
Additionally, Defendant did not compensate Plaintiff for repairs, trouble
shooting, electrical issues that arose during “hot checks,” trips to
purchase materials, safety meetings, and trips between houses after
reporting to work and prior to Plaintiff returning to his home.
Consequently, Defendant was not fully compensating all hours worked
in excess of forty (40) hours in a workweek as required by the FLSA.

JURISDICTION AND VENUE
This Court has subject matter jurisdiction conferred by 29 U.S.C.
§216(b) and 28 U.S.C. §1331.
Venue is proper in the Orlando Division of the Middle District of Florida
under Local Rule 1.02 of the Local Rules of the Middle District of
Florida. Orange County has the greatest nexus with the cause
because it is the place where Plaintiff provided services and Defendant
conducted business.

PARTIES

Plaintiff, JOSE VAZQUEZ, a resident of Polk County, was a former

employee of Defendant who worked at STRADA SERVICES INC.

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Defendant STRADA SERVICES INC. is a for profit corporation
organized and existing under and by virtue of the laws of the State of
Florida, with offices located at 14055 W. Colonial Dr., Winter Garden,
FL 34787 in Orange County, Florida, and 3400 St. John’s Parkway,
Sanford FL 32771, in Seminole County, Florida.

COVERAGE
Defendant STRADA SERVICES INC. is and was at all relevant times
an enterprise engaged in commerce or in the production of goods for
commerce, covered by the FLSA, and as defined by 29 U.S.C. § 203.
DEFENDANT STRADA SERVICES INC. was engaged in commerce
by purchasing supplies and materials in interstate commerce,
manufactured out of the State of Florida and/or the United States, for
use in commercial and residential electrical wiring and construction.
Additionally, Defendant was engaged in commerce by purchasing such
materials and supplies from numerous sellers located outside the state
of Florida through credit transactions across state lines, by accepting
payment from customers through credit transactions across state lines
and/or involving banks and credit card companies located outside of
the State of Florida, and by operating one or more websites viewed by
customers across state lines.
Defendant’s annual gross volume of sales exceeded $500,000/year at

all relevant times.

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Defendant STRADA SERVICES INC. was an employer within the
definition of the FLSA, 29 U.S.C. § 203.
During the term of his employment, Plaintiff was engaged in commerce
and was therefore subject to the individual coverage of the FLSA. 29
U.S.C. § 206.
The services performed by Plaintiff were essential, necessary, and an
integral part of the business conducted by Defendant.
Plaintiff was a covered employee for purposes of the FLSA pursuant to
29 U.S.C. § § 207 and 206.

FACTUAL BACKGROUND
Plaintiff JOSE VAZQUEZ was employed by Defendant
Plaintiff held an electrician position at the time of separation.
Plaintiffs pay was production-based (based on electrical wiring per
square foot), at 25-30 cents per square foot of electrical wiring.
During his employment with Defendant, Plaintiff was classified as non-
exempt.
Plaintiff did not satisfy the requirements for overtime exemptions set
forth in the FLSA.
During the period covered by Plaintiff's employment, Plaintiff regularly
worked in excess of forty (40) hours in a workweek and was not
compensated at the statutory rate of one and one-half times his regular

rate of pay.

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22. Defendant was aware that Plaintiff was working in excess of forty (40)
hours per week without proper compensation but did not cure the
ongoing FLSA violations.

23. Furthermore, Defendant required Plaintiff to perform compensable
work for which Defendant did not compensate Plaintiff.

24. Defendant's actions were willful and/or showed reckless disregard as
to whether its conduct was prohibited by the FLSA.

25. Plaintiffs time and payroll records (including the hours worked in each
workweek) should be in Defendant’s custody and control, pursuant to
29 C.F.R. § 516. However, the accuracy, completeness, and
sufficiency of such records is at issue.

COUNT I
RECOVERY OF OVERTIME COMPENSATION UNDER THE FLSA

26. Plaintiff re-alleges and incorporates the allegations contained in
Paragraphs 1 through 25 above.

27. Plaintiff regularly worked in excess of forty (40) hours in a workweek
for Defendant, and Defendant failed to pay Plaintiff at 1.5 Plaintiffs
regular rate of pay for all hours worked in excess of forty (40) in a
workweek as required by the FLSA.

28. ‘Plaintiff is entitled to be paid time and one-half his regular rate of pay
for each hour worked in excess of forty (40) in a workweek.

29. Defendant was aware that Plaintiff was working hours in excess of

forty in a workweek, because Plaintiff frequently complained about not

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being compensated for overtime work, and despite this, Defendant
consistently recorded Plaintiffs hours worked as always or nearly
always being 8 hours per day.

As a result of Defendant’s willful violation of the FLSA, Plaintiff is
entitled to damages, liquidated damages or interest, attorney's fees,
and costs.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment against Defendant,

and the following damages:

a.

b.

Unpaid overtime compensation pursuant to 29 U.S.C. § 216(b);
Liquidated damages in an amount equal to the overtime compensation
owed in accordance with 29 U.S.C. § 216(b);

Pre-judgment interest;

Attorneys’ fees and costs as provided by 29 U.S.C. § 216(b);

Such further relief as the Court deems just and appropriate.

DEMAND FOR JURY TRIAL

Plaintiff requests a jury trial to the extent authorized by law.

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Dated: July 30, 2018. Respectfully submitted,

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